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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

KEVIN M. ADLEY,
Plaintiff,

V. CIVIL ACTION
NO. l6-12265-WGY
KATHLEEN A. BURNS and

THOMAS M. BURNS,

Defendants.

 

YOUNG, D.J. May 15, 2018

FINDINGS OF FACT, RULINGS OF LAW,
AND ORDER FOR JUDGMENT

I. INTRODUCTION

On November 10, 2016, the plaintiff Kevin M. Adley (“Adley”)
brought this action against his sister, Kathleen A. Burns (“Mrs.
Burns”), and her husband, Thomas M. Burns (“Mr. Burns,” and
collectively, the “Defendants”), alleging breach of fiduciary
duty, fraud and deceit, intentional misrepresentation, and
unjust enrichment stemming from the joint ownership of a
vacation property (the “Property”). Pl.’s V. Compl. (“Compl.”)
II 40-57, ECF No. 1. Adley sought damages and the imposition of
a constructive trust on the Property. ;§; L 58. The Defendants

asserted a statute of limitations defense, as well as

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counterclaims of breach of contract and unjust enrichment.
Defs.' Answer & Countercls. 6, 11-12, ECF No. ll.

During the two-day bench trial on November 15 and 16, 2017,
the Court heard testimony from Adley, Mrs. Burns, and Mr. Burns.
After hearing closing arguments, the Court announced its
preliminary findings of fact and rulings of law pursuant to Rule
52 of the Federal Rules of Civil Procedure. §ee Electronic
Clerk’s Notes, ECF No. 43; 11/21/17 Trial Tr. at 32, ECF No. 44.
It rejected the Defendants’ statute of limitations defense and
imposed a constructive trust on the Property. 11/21/17 Trial
Tr. at 32. The Court ruled that a real estate broker will be
appointed as a special master to ensure that the Property is
sold in a commercially reasonable manner and that the proceeds
will go to each party according to their relative percentage
interests in the Property. 11/21/17 Trial Tr. at 32-34.

The Court then asked the parties to submit briefs addressing
the appointment of a broker and the calculation of each party’s
relative interest in the Property. l§; The parties having done
so, the Court now makes the following findings of fact and
explains its rulings of law.

II. FINDINGS OF FACT
A. Initial Purchase of the Property
In or around June 1992, Adley and the Defendants decided to

purchase the Property, which is located at 90 Uncle Barney's

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Road in West Dennis, Massachusetts, in order to build a shared
vacation home. List of Facts Established by Pleadings
(“Admitted Facts”) I 2, Trial Ex. B15. On July 16, 1992, the
parties purchased the Property as tenants in common, with Adley
having an undivided fifty percent interest and the Defendants
having an undivided fifty percent interest and the right of
survivorship. ld; I 5.

In addition to agreeing that Adley and the Defendants would
each respectively possess an undivided fifty percent ownership
interest in the Property, id; I 3, the parties also agreed
equally to divide all expenses and costs, such as mortgage
payments, property taxes, insurance, utilities, and maintenance.
ld; I 4. Because Adley resided in California, and the
Defendants resided in Massachusetts, it was contemplated by the
parties that Adley would use this home a few times a year,
whereas the Defendants would enjoy use of the house more
regularly. Pl.’s Reguests Findings of Fact (“Pl.’s Statement of
Facts”) I 4, ECF No. 36; Defs.' Requests Findings of Fact
(“Defs.’ Statement of FactS”) IL 13-14, ECF No.34.

At this time, according to the parties’ oral agreement,
Adley began making monthly payments of $1,000 to the Defendants.
Defs.' Statement of Facts L 10. These payments were intended to
cover Adley’s half of the monthly mortgage payments as well as

his portion of other expenses and costs. Pl.’s Statement of

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Facts I 12. The payments were deposited into a joint “reserve”
account. ;d;; Defs.' Statement of Facts II 15-16. Adley made
these contributions monthly from July 1992 through December 1998
pursuant to the parties' agreement. Admitted Facts I 10. Adley
continued to reside in California, using the Property a few
times a year. §d; I 9.

The Defendants managed the Property’s finances, maintaining
the joint bank account and handling the payment of all expenses
such as the mortgage, property taxes, homeowners insurance, and
utilities. ld; I 19. Mr. Burns handled all of the Property’s
bookkeeping and accounting. ld; L 20. As part of this duty, he
provided annual statements to Adley confirming that Adley was a
fifty percent owner of the Property and setting forth the amount
of mortgage interest and property taxes paid each year so that
Adley could deduct these amounts from his federal and state
income taxes. l§; I 17.

B. Mortgages and Refinancings of the Property

At the time of the initial purchase of the Property in 1992,
in order to finance the purchase and the construction of a house
on the Property, the parties jointly acquired a mortgage in the
amount of $135,000. ld; L 6. The parties refinanced this
mortgage in 1993, granting Plymouth Mortgage, Inc. a mortgage in

the amount of $132,000. Id. L 7.

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In or about late 2001, Mrs. Burns informed Adley that Mr.
Burns was having trouble sleeping because of $80,000 in credit
card debt he had accrued. l§; I ll. She asked Adley if he
would be willing to have the Defendants take some equity out of
the Property through refinancing so that Mr. Burns could pay off
the debt, and she indicated that she and Mr. Burns would
increase their monthly contribution to pay back over time the
equity taken out of the property. ld; Adley agreed to the
proposal. ;d;

On February 22, 2002, the Property was transferred by deed
from Adley and the Defendants as tenants in common to the
Defendants as tenants by the entirety for zero consideration.
ld; L 12. The same day, the Defendants granted GMAC Mortgage
Corporation (“GMAC Mortgage”) a mortgage in the amount of
$225,000, refinancing the property and paying off the existing
mortgage balance of approximately $120,000. l§; L 13. In March
2002, Mr. Burns sent Adley a check for $10,000 from the proceeds
of the refinancing, and the Defendants kept $85,000 from the
proceeds. Pl.’s Statement of Facts I 28-29; Defs.' Answer &
Countercls. 10 at I 24.

On June 6, 2003, the Defendants refinanced the mortgage
again, granting GMAC Mortgage a mortgage in the amount of
$224,000 and paying off the existing mortgage. Admitted Facts I

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In 2004, the Defendants obtained a home equity line of
credit (“HELOC”) on the Property without informing Adley. Pl.’s
Statement of Facts T 32. This HELOC eventually was rolled into
another HELOC in 2006. ld; I 33. The Defendants used the
proceeds from the 2006 HELOC to pay for their daughter’s college
education. ld; L 33; Defs.' Statement of Facts I 43.

On July 15, 2016, the Defendants granted TD Bank a mortgage
in the amount of $281,000 refinancing the subject property yet
again and paying off the 2003 mortgage and 2006 HELOC. Admitted
Facts I 18. The Defendants did not advise Adley that they were
refinancing the subject property. ld;

C. 2015 Events

In or around February 2015, a frozen water pipe burst at the
Property, causing damage that required repairs. ld; T 15. The
Defendants reported the incident to the homeowners' insurance
company, hired contractors, and monitored repair work. ;d;
Adley did not visit the property during the repairs, ld; In or
around April 2015, Adley and Mr. Burns began to discuss
necessary and extensive repairs to the Property, and whether
they would pay for the repairs, buy each other out, or sell the
Property. l§; I 16.

Adley claims that around this time, he asked Mr. Burns for a
copy of the Property's title for the purpose of demonstrating

residence in Massachusetts to obtain a license to carry a

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firearm. Pl.’s Statement of Facts l 36. He “became suspicious”
when Mr. Burns failed to provide him with a copy of the title,
and he then ordered a title search that showed that he had not
been a titled owner of the Property since February 2002, £d; I
36-37.

D. Adley’s Knowledge and Mr. Burns’s Intent

The parties dispute the extent of Adley’s knowledge as to
the deed transfer. Adley claims that when he agreed to the 2002
refinancing, he granted a limited power of attorney to a
Massachusetts attorney for the purpose of executing
documentation to achieve the refinancing, but expressly told Mr.
Burns that the limited power of attorney was “[f]or refinance
purposes only” and did not authorize any changes in title to the
Property. Pl.’s Statement of Facts II 23-24. He claims that as
a result, he was unaware of (and did not consent to) the deed
transfer. £d; LI 26-27. The Defendants claim that Adley,
facing financial strain of his own, had requested that his name
not be included on the new mortgage. Defs.' Statement of Facts
II 22, 25. According to the Defendants, Adley understood that
this meant there was a possibility that title would need to
change hands to complete the transaction, but never thereafter
asked whether the deed had been transferred. ld; II 26, 32-33.

It is undisputed that even after the 2002 title change, Mr.

Burns continued to provide annual statements to Adley detailing

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the amounts of mortgage interest and property taxes paid so that
Adley could take advantage of the relevant tax deductions.
Admitted Facts I 17. Considering this fact together with
Adley’s testimony, this Court finds that Adley was unaware of
the deed transfer. The Court also finds, however, that Mr.
Burns was at the time unaware of the possibility that the United
States Tax Code might not allow non-titled owners to take these
deductions. The Court finds that Mr. Burns continued to believe
Adley to be a fifty-percent owner in equity and that Mr. Burns
did not intend to commit or induce any fraudulent conduct by
sending Adley the statements.
III. RULINGS OF LAW

A. Statute of Limitations

The Court first addresses the Defendants’ statute of
limitations defense to Adley's charges of fraud and breach of
fiduciary duty,

When confronting state causes of action brought in federal

court pursuant to diversity jurisdiction, this Court applies the

 

state statute of limitations. See, e.g., Deisenroth v. Numonics
Corp., 997 F. Supp. 153, 156 (D. Mass. 1998) (Saris, J.). Under

Massachusetts law, claims for fraud and breach of fiduciary duty1

 

1 Because in this case the Plaintiff’s breach of fiduciary
duty claim “is essentially a reallegation of the fraud claim,”
the Court deems the breach of fiduciary duty claim to sound in
tort, rather than in contract, and consequently to be governed

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are governed by the three-year statute of limitations. Mass.

Gen. Laws ch. 260, §2A; LeLannic v. Smith, No. 16-P-1088, 2017

 

WL 1477353, at *2 (Mass. App. Ct. Apr. 25, 2017). Though the
limitations period for tort actions “generally runs for three
years following the date of the injury,” the Supreme Judicial
Court has “long held that, in certain circumstances, . . . basic
fairness dictates a more flexible approach.” Qg§ v. Harbor
Sch., Inc., 446 Mass. 245, 254 (2006). Consequently,
Massachusetts courts have adopted the “discovery rule,” under
which the limitations period does not begin to run until the
plaintiff “knew or should have known that the plaintiff had
sustained injury cause by a defendant's conduct.”2 LeLannic,
2017 WL 1477353, at *2; see Pagliuca v. City of Boston, 35 Mass.
App. Ct. 820, 824 (1994).

“[U]nder Massachusetts law, a person has notice of a fact
when, from all the information at his disposal, he has reason to
know of it.” Michelin Tires (Canada) Ltd. v. First Nat'l Bank,

666 F.2d 673, 682 (1st Cir. 1981). Because Mr. Burns continued

 

by the statute of limitations applicable to torts. Howell v.
Birnberg, No. 922842A, 1994 WL 879659, at *2 n.6 (Mass. Super.
Feb. 10, 1994) (O’Toole, J.).

2 Massachusetts courts have gone one step farther in the
case of claims for breach of fiduciary duty, holding such claims
begin to run only when the plaintiff has actual knowledge of the
injury. §§§ Qge, 446 Mass. at 254-55. This Court need not
address this separate standard here because it finds Adley did
not have even constructive knowledge.

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to send Adley tax and mortgage interest statements identical to
those sent prior to the 2002 refinancing, see Trial Ex. Al9, the
Court cannot hold Adley to have had notice of the deed transfer.
Mr. Burns’s silence, together with the sending of these
statements, would lead a reasonable person to believe that he
was still a titled owner of the Property. Even had Mr. Burns
informed Adley that a title change might occur in conjunction
with the refinancing, a reasonable person could interpret the
continued delivery of these statements proclaiming Adley to be
an “equal[] 50% owner[]” as confirmation that a title change had
not in fact transpired.

Because this Court has found that a reasonable person in
Adley’s position would not have reason to know of the deed
transfer, the limitations period here did not begin to run until
Adley received the results of the title search he performed in
July 2015. Adley instituted this action on November 10, 2016,
well within the three-year limitations period. The Court thus
rejects the Defendants’ statute of limitations defense.

B. Adley’s Claims

Adley brought five claims against the Defendants: (i) breach
of fiduciary duty, (ii) fraud and deceit, (iii) intentional
misrepresentation, (iv) unjust enrichment, and (v) imposition of
a constructive trust.

1. Breach of Fidnciary Duty

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A plaintiff claiming breach of fiduciary duty must prove the
following: “l) existence of a fiduciary duty arising from a
relationship between the parties, 2) breach of that duty, 3)
damages and 4) a causal relationship between the breach and the
damages." Qestec, Inc. v. Krummenacker, 367 F. Supp. 2d 89, 97
(D. Mass. 2005) (Gorton, J.) (citing Hanover Ins. Co. v. Sutton,
46 Mass. App. Ct. 153, 164 (1999)).

“A fiduciary duty exists ‘when one reposes faith,
confidence, and trust in another's judgment and advice.’” Qge,

446 Mass. at 252 (quoting Van Brode Grp., Inc. v. Bowditch &

 

Q§w§y, 36 Mass. App. Ct. 509, 516 (1994)). Though some
“familiar and well recognized” fiduciary relationships include
“attorney and client, trustee and beneficiary, physician and
patient, business partners, promoters or directors and a
corporation, and employer and employee,” Massachusetts courts
have recognized that this list is not exhaustive and “[t]he
existence of the relationship in any particular case is to be
determined by the facts established.” Warsofsky v. Sherman, 326
Mass. 290, 292-93 (1950). “Ordinarily, family relations do not
suffice to create a fiduciary relationship that heightens
scrutiny for fraud or undue influence.” Cleary v. Cleary, 427
Mass. 286, 292-93 (1998). Such a relationship, however, “may be
found on evidence indicating that one person is in fact

dependent on another's judgment in business affairs or property

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matters.” Markell v. Sidney B. Pfeifer Found., Inc., 9 Mass.
App. Ct. 412, 444 (1980), abrogated on other grounds by Cleary,
427 Mass. 286.

Massachusetts courts have tended to find the existence of a
fiduciary relationship between family members in probate cases
alleging undue influence of an elderly relative, or in cases
where the court appeared to consider the individual otherwise
unable to make sound decisions for herself. §§e ngd v.
Newberg, 48 Mass. App. Ct. 185, 193 (1999) (fiduciary
relationship between decedent and grandson); Markell, 9 Mass.
App. Ct. at 444-45 (fiduciary relationship between decedent and

nephew); see also Stetson v. French, 321 Mass. 195, 199 (1947)

 

(fiduciary relationship existed between “a capable man of
affairs and of property” and his “illiterate” brothers, one of
whom was “somewhat deficient mentally”); Hawkes v. Lackey, 207
Mass. 424, 431 (1911) (fiduciary duty owed to female relatives
who had “scarcely any business experience" and “were almost like
children in money matters”). By contrast, they have declined to
find a fiduciary relationship from family members’ promises
relating to land conveyances, where no additional factors
supporting a fiduciary relationship existed. §ee §glly v.
§elly, 358 Mass. 154, 156 (1970) (“It is settled in this
Commonwealth that a fiduciary relationship does not arise merely

because the parties to a conveyance are members of the same

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family, even if the transferee promised to hold the land in
trust.”); Meskell v. Meskell, 355 Mass. 148, 152 (1969); §§mp v.
§§mp, 248 Mass. 354, 357 (1924).

This Court cannot conclude that a fiduciary relationship
existed between Adley and the Defendants. While Adley may have
trusted in the Defendants’ judgment regarding the day-to-day
maintenance of the Property while he resided across the country,
and the Defendants may have promised to maintain the Property in
a way amenable to both parties, this agreement is insufficient
to establish a fiduciary duty. Adley, a fully independent adult
and then-active federal agent, was fully capable of making his
own business decisions and thus was not dependent on the
Defendants' judgment in the same way as the individuals in ngd
and Markell. He simply respected that judgment. §§e Comstock
v. Livingston, 210 Mass. 581, 584 (1912) (“Mere respect for the
judgment of another or trust in his character is not enough to
constitute . . . a [fiduciary] relation.”). Consequently, no
breach of fiduciary duty can be held to have occurred here.

2. Fraud, Deceit, and Intentional Misrepresentation

To prove fraudulent misrepresentation under Massachusetts
law, a plaintiff must show “that the defendant made a false
representation of a material fact with knowledge of its falsity
for the purpose of inducing the plaintiff to act thereon, and

that the plaintiff relied upon the representation as true and

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acted upon it to his damage.” Danca v. Taunton Sav. Bank, 385

 

Mass. 1, 8 (1982) (quoting Barrett Assocs. v. Aronson, 346 Mass.
150, 152 (1963)); See also Kilroy v. Barron, 326 Mass. 464, 465
(1950).

Here, the alleged false representation is Mr. Burns's
continued statements declaring Adley to be a 50% owner for
purposes of taking certain tax deductions. §ee Compl. 11 34,
44-46. As an initial matter, the falsity of the statements is
questionable: The statements merely assert Adley to be a “50%
owner[],” not a titled owner, Trial Ex. A19, and Adley is indeed
an owner in equity. Even considering the statements false
insofar as they suggest that Adley's right to take these
deductions is beyond doubt, Adley has not proven that Mr. Burns
sent these statements with the knowledge that Adley’s right to
take the deductions was in fact not assured. This Court found
that Mr. Burns did not realize that Adley might have been
exposed to liability for taking such deductions without being on
the deed, see supra, and thus Mr. Burns's actions do not amount
to actionable fraud.

The complaint also alleges that the Defendants failed to
disclose to Adley that they transferred the deed and that they
took out the home equity loans. Typically, “nondisclosure does
not amount to fraud and is not a conventional tort of any kind.”

Greenery Rehab. Group, Inc. v. Antaramian, 36 Mass. App. Ct. 73,

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77 (1994). In certain cases, however, nondisclosure may amount
to fraud when there exists a duty to disclose. §§§ id; at 78.
This duty “may arise if there is a ‘fiduciary or other similar
relation of trust and confidence between [the parties].'” §§od,
48 Mass. App. Ct. at 192.

Because this Court found there to be no fiduciary
relationship between the parties, the Defendants were not under
a duty to disclose that would lead to liability here. §§§ Q£m§n

v. S. Boston Sav. Bank, 424 Mass. 165, 168 (1997) (rejecting

 

fraud claim where defendant “did not make representations of any
kind . . . and did not stand in a fiduciary relationship to the

plaintiffs”); Swinton v. Whitinsville Sav. Bank, 311 Mass. 677,

 

678 (1942). Even had a duty existed, however, the evidence
shows that the Defendants did not make this omission with the
purpose of inducing any reliance on Adley’s part.
3. Unjust Enrichment

Unjust enrichment arises where one party “retains the
property of another ‘against the fundamental principles of
justice or equity and good conscience.’” Bonina v. Sheppard, 91
Mass. App. Ct. 622, 625 (2017) (quoting Santagate v. IQw§£, 64
Mass. App. Ct. 324, 329 (2005)). To show unjust enrichment,
“[t]he plaintiff must establish ‘not only that the defendant
received a benefit, but also that such a benefit was unjust.’”

Id. (quoting Metropolitan Life Ins. Co. v. Cotter, 464 Mass.

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623, 644 (2013)). In determining whether the benefit was
unjust, courts must look to the “reasonable expectations of the
parties.” Cotter, 464 Mass. at 644 (quoting Global Investors
Agent Corp. v. National Fire Ins. Co., 76 Mass. App. Ct. 812,
826 (2010)). Though claims for unjust enrichment are available
only where there is no adequate remedy at law, see Santagate, 64
Mass. App. Ct. at 329, this Court's holdings above establish
that Adley’s claim meets that criterion.

Though this Court found that there was no intent to defraud
Adley with the deed transfer, it also found that Adley was
unaware of the transfer and did not consent. He had provided
substantial financial contributions to the Property at that
point, and he did not receive anything approaching a fair pay-
out for his share of the Property. Further, the evidence shows
that prior to this litigation, the Defendants continuously
believed Adley to be a fifty percent owner in equity, see, e.g.,
Trial Ex. A19, and thus Adley’s expectations that he continued
to be a fifty percent owner were reasonable. As a result, the
Defendants were unjustly enriched by obtaining full legal title
of the Property, and they do not have the right to retain one
hundred percent of its ownership.

The Defendants were also unjustly enriched by virtue of the
HELOCs that they took out, §§e Trial Exs. All, A12. This

further equity taken out of the Property extended the length of

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time that the Property would be encumbered by debt as well as
increased the amount of debt, and the entire benefit derived
from the extra debt went to the Defendants, rather than to
Adley. The Defendants further admit that the HELOC is “entirely
[their] responsi[bility].” Defs.' Statement of Facts 1 43.
Consequently, “equity and good conscience” demand that Adley be
compensated in some way to account for the cost of this added
encumbrance.
4. Constructive Trust

Massachusetts courts have recognized that the proper remedy
for unjust enrichment is an equitable one. §§e Santagate, 64
Mass. App. Ct. at 329, The Court has broad discretion to
fashion the equitable remedy it considers most appropriate, as
“[e]quitable remedies are flexible tools to be applied with the
focus on fairness and justice.” Demoulas v. Demoulas, 428 Mass.
555, 580 (1998); see Johnson v. Martignetti, 374 Mass. 784, 794
(1978). One such remedy is a constructive trust, which “may be
imposed to prevent injustice, unjust enrichment, or fraud.”
Sutton v. Valois, 66 Mass. App. Ct. 258, 266 (2006); see also
State St. Bank & Tr. Co. v. Beale, 353 Mass. 103, 105 (1967) (“A
constructive trust may be said to be a device employed in equity

in order to avoid the unjust enrichment of one party at

the expense of the other where the legal title to the property

was obtained by fraud . . . .”).

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The Court is persuaded that imposing a constructive trust on
the Property is the most appropriate remedy here. Through the
imposition of a constructive trust, the Defendants must disgorge
their unjust gains, Adley's rightful part-ownership of the
Property will be restored to him, and the Court may fashion a
division of the Property that accords with fairness under the
parties’ original agreement.

C. The Defendants' Counterclaims

The Defendants bring two counterclaims against Adley: (i)
breach of contract and (ii) unjust enrichment. Defs.' Answer &
Countercls. 11-12.

1. Breach of Contract

The Defendants claim that Adley breached their oral
agreement to split equally all expenses relating to the
Property. Defs.' Answer & Countercls. 11. They allege that
after depositing the “required monthly contribution” into the
joint checking account for several years, Adley “arbitrarily and
unilaterally decided to decrease” those contributions “well
below what was required to cover his fifty percent of expenses.”
ld; at 9. The Defendants further claim that Adley did not
contribute to the repairs needed after the pipe burst in 2015.

Id. at 10-11.

“It is axiomatic that to create an enforceable contract,

there must be agreement between the parties on the material

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terms of that contract, and the parties must have a present
intention to be bound by that agreement." Lambert v. fleet
Nat’l Bank, 449 Mass. 119, 123 (2007). A contract may be
binding even where some terms are not “precisely specified” or
defined, but the parties “must . . . have progressed beyond the

stage of ‘imperfect negotiation.’” Situation Mgmt. Sys., Inc.

 

v. Malouf, Inc., 430 Mass. 875, 878 (2000). Here, it is
undisputed that the parties agreed to share equity in the
Property and bear all expenses on an equal basis. Admitted
Facts 11 2-4. Given this agreement and the testimony at trial,
the Court concludes that the parties entered into an enforceable

contract by which they had the present intention to be bound.3

 

3 To the extent that Adley raised the affirmative defense
that the contract fails to satisfy the Statute of Frauds, Pl.’s
Answer 5, ECF No. 17, his testimony that the agreement was never
committed to writing is insufficient to convince this Court that
the contract is unenforceable. The Massachusetts statute
codifying the common law Statute of Frauds requires a writing
for several types of agreements, two of which are potentially
applicable here: agreements for the sale of land and agreements
that cannot be performed within one year. §ee Mass. Gen. Laws
ch. 259 § 1. Because the agreement here is best characterized
as one “for the sharing of real estate profits and losses,” it
is not a contract for the sale of land but one “in the nature of
an oral partnership agreement or joint venture . . . ordinarily
not within the purview of the Statute of Frauds.” Greenfield v.
Pearlstein, 1995 Mass. App. Div. 30 (Dist. Ct. 1995); see also
Fencer v. Wills, 259 Mass. 546, 549 (1927) (explaining that an
agreement was “not a contract for the sale of lands or any
interest in land” where it “concerned alone the matter of
profits and losses arising, or which might arise, from the sale
of lands purchased and held under the terms of the agreement”).

Nor is the agreement here one “that is not to be performed
within one year from the making thereof.” Mass. Gen. Laws ch.

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At trial, the Defendants introduced evidence that Adley
lowered his monthly payments starting in 1999. §§e Trial Exs.
A16, A18. Adley admitted this fact, testifying that he lowered
the payments because the joint account had a surplus of funds
and he thought the amount he was putting in was unnecessarily
high to cover his fifty-percent share of the expenses. Even
were this true at the time, however, the Defendants offered
additional evidence that overall, they contributed more than one
hundred thousand dollars over the amount that Adley contributed
to the Property's expenses. §§§ Trial Exs. 16, 18. Though some
evidence offered at trial showed that the Defendants had not
credited Adley for approximately $19,500 that he contributed in

the years 1992 and 1993, see Trial Ex. A3, Adley did not offer

 

259 § l. Massachusetts courts have consistently held that this
provision “does not apply to contracts which may be performed
within, although they may also extend beyond,” one year.

Rowland v. Hackel, 243 Mass. 160, 162 (1922). “[A]ny
understanding that the agreement was not to be performed within
a year ‘is to be absolute and certain, and not to depend on any
contingency.’” Joseph Martin, Inc. v. McNulty, 300 Mass. 573,
577 (1938) (quoting Peters v. Westborough, 36 Mass. 364, 367
(1837)). Though the parties here may have contemplated that
their investment in the Property would span many years, there is
no evidence that they discussed the contract’s length, and it is
conceivable that they might have sold the Property within a
year, discharging their contractual obligations. The Statute of
Frauds thus does not bar enforcement of the contract, §§§ Meng
v. Trustees of Boston Univ., 44 Mass. App. Ct. 650, 652 (1998)
(“[A]n oral contract for a brokerage commission to sell land
after it was prepared for development is enforceable under the
Statute of Frauds, despite the fact that the parties may
contemplate that sales will not be completed for more than one
year.”).

 

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any further evidence to show that he had matched the Defendants’
outlays.4 This Court thus holds that Adley breached this
contract by failing to pay for his fifty-percent share of the
Property's expenses.

“The usual rule for damages in a breach of contract case is
that the injured party should be put in the position they would
have been in had the contact [sic] been performed.” Malouf, 430
Mass. at 880. Because the Court has imposed a constructive
trust on the Property, the Defendants will not receive damages,
but they will be awarded a percentage of the Property's equity
proportionate to the amount by which their contributions
exceeded Adley’s.

2. Unjust Enrichment

The Defendants also bring a claim of unjust enrichment,
asserting that Adley unjustly received the benefit of the work
they performed over the years to maintain and improve the
Property. Defs.' Answer & Countercls. 11-12. This work
allegedly included bookkeeping, payment of bills, routine
maintenance of the Property, performance of various “upgrades”

to the Property (such as the building of a deck and the

 

4 Adley also claimed that he had contributed $30,000 to the
initial purchase of the Property, and that the Defendants
credited him for only $20,000, Pl.’s Mem. Cash Contributions 2,
ECF No. 41, but even were this true it would not account for the
remainder of the balance he owes. Further, this Court is
unpersuaded by his testimony for the reasons expressed infra.

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installation of driveway lighting), and the handling of all
repairs and insurance claims stemming from the burst pipe in
2015. 1§; at 7-11.

To the extent that this claim rests on Adley’s failure to
pay his share of the Property's expenses, the Defendants cannot
recover under a theory of unjust enrichment because they have a
remedy at law. §e§ Santagate, 64 Mass. App. Ct. at 329, The
Defendants also claim, however, that Adley was unjustly enriched
by virtue of the “sweat equity,” or nonmonetary contributions,
they provided to improve and maintain the Property. Defs.'
Answer & Countercls. 11-12; Defs.' Statement of Facts 9-10. It
is undisputed, however, that the Defendants also enjoyed greater
use of the Property and of these additions, whereas Adley only
visited the Property a few times a year. Defs.' Statement of
Facts 3; Admitted Facts 1 9. It is further undisputed that this
inequality of use was understood and expected at the time that
the parties made their agreement. Defs.' Statement of Facts 1
13. All of the evidence adduced at trial shows that the parties
contemplated that in exchange for Adley's equal contributions to
the joint account for the Property's expenses (despite his
infrequent use of the Property), he would not be expected to
handle the Property's upkeep or help with home improvement
projects requiring physical presence at the Property. In turn,

the Defendants would take on the routine maintenance, but also

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enjoy greater use of the Property. Consequently, the Defendants
did not reasonably expect that Adley would contribute
financially each time Mr. Burns mowed the lawn or installed an
upgrade to the Property. Nor did the Defendants reasonably
expect that Adley would pay an additional amount for Mr. Burns's
services as bookkeeper and accountant. This Court thus cannot
conclude that Adley has received a benefit from these services
that offends “the fundamental principles of justice.” Bonina,
91 Mass. App. Ct. at 625 (quoting Santagate, 64 Mass. App. Ct.
at 329).

IV. PERCENTAGE OWNERSHIP OF THE PROPERTY

Having imposed a constructive trust on the Property, the
Court now proceeds to determine each party’s relative interest
in the Property. The parties generally agree that their
contributions to the Property are accurately reflected in Mr.
Burns's master bookkeeping spreadsheet introduced at trial, but
they dispute four particular contributions, §§§ Pl.’s Mem. Cash
Contributions, ECF No. 41; Defs.' Mem. Cash Contributions, ECF
No. 40; Trial Ex. Al8.

First, Adley claims that whereas the Defendants provided an
initial contribution of $20,000 to the Property, he made an
initial contribution of $30,000 to the Property. Pl.’s Mem.
Cash Contributions 2. The Defendants claim that Adley provided

$20,000 to the initial pool of funds, a contribution equal to

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their own. Defs.' Mem. Cash Contributions 3. Because no
documentation of these contributions was offered by either
party, the only evidence introduced on this point was the
conflicting testimony of Adley and Mr. Burns. Given the
temporal proximity of this contribution to the original
agreement that the parties would split all expenses equally, the
Court is persuaded by Mr. Burns's testimony that the parties
each contributed $20,000 to the initial fund.

Second, Adley claims that Mr. Burns's master bookkeeping
spreadsheet failed to account for approximately $19,500 that he
contributed to the Property in 1992 and 1993. Pl.’s Mem. Cash
Contributions 2-3; Trial Ex. A18. He points out that the
balance sheets prepared by Mr. Burns during those years reflect
these additional contributions, Pl.’s Mem. Cash Contributions
2-3; Trial Ex. A3. Because the Defendants do not address the
exclusion of these figures from the master spreadsheet, and the
Court can discern no reason that they should have been excluded,
the Court credits Adley with these contributions.

Third, Adley claims that the Defendants overstated certain
contributions that they made in 1993 and 1994. Pl.’s Mem. Cash
Contributions 3-4. He again points to certain inconsistencies
in the various tables prepared by Mr. Burns, as well as the
joint account statements. ld; This Court is unwilling to

conclude that the Defendants did not make these contributions

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simply because they were recorded in only one spreadsheet.
Indeed, because the Defendants resided in closer physical
proximity to the Property and handled payment of all bills and
expenses, it is entirely possible that they made certain direct
contributions not reflected in the joint account or other tables
prepared by Mr. Burns. Adley has provided no recordkeeping of
his own to demonstrate otherwise, and so the Defendants will be
credited for those contributions,

Fourth, the Defendants request credit for the contributions
they have made to the Property since this lawsuit began. Defs.'
Mem. Cash Contributions 4. Adley does not claim to have made
any contributions of his own during this time, but he argues
that the Defendants failed to introduce the records of these
payments into evidence at trial and consequently they ought not
be considered. Trial judges have the discretion to reopen the
record and consider additional evidence when they deem it
appropriate. See Holland v. Jachmann, 85 Mass. App. Ct. 1120
(2014); Caffyn v. Caffyn, 70 Mass. App. Ct. 37, 43 (2007). It
is undisputed that the Defendants continued to handle the
Property's maintenance and accounting needs throughout this
litigation, Admitted Facts 1 19, which reasonably requires the
payment of the mortgage, property taxes, and other bills. Adley
was on notice of these recurrent costs and had (but neglected to

take advantage of) the opportunity to question the Defendants as

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to their payment at trial. The Court thus will permit the
evidence of the amount of such costs and credit it toward the
Defendants’ share of the Property.

After establishing the total contributions made by each
party, the Court deducts the amount that each party obtained
from the proceeds of the 2002 refinancing, The below chart
demonstrates the calculation of the total percentage interest of

the Property assigned to each party:

 

 

 

 

 

 

 

 

 

Table 1
Adley The Defendants
Initial Contribution $ 20,000.00 $ 20,000.00
Adley’s 1992-1993 $ 19,457.38 --
Uncredited Cash
Contributions
Documented Cash $ 309,675.00 $ 456,635.00
Contributions
The Defendants’ Post-Suit -- $ 37,604.00
Contributions
Subtotal: $ 349,132.38
2002 Refinancing -$ 10,000.00 -$ 85,000.00
Adjustment
Total: $ 339,132.38 $ 429,239.00
Percentage Ownership: 44.14% 55.86%

 

 

 

 

 

V. SALE OF THE PROPERTY

This Court ruled that the Property will be sold in a
commercially reasonable manner by an appointed real estate
broker. Because the parties were unable to agree on a broker,
this Court appoints Kathy Craig of Robert Paul Properties,
Osterville, MA, as Special Master to handle the sale of the
Property.

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The Court also ruled that the debt stemming from the HELOC
was the sole responsibility of the Defendants. Though the
Defendants paid off the HELGC balance of $187,167.65 in 2016,
they did so by rolling it into a new mortgage. Admitted Facts 1
18; Trial Ex. A14. Thus, some adjustment must be made to ensure
that Adley does not bear any burden of the debt deriving from
the HELOC. The parties agree that the $187,000 ought be
extinguished at the closing of the Property's sale from the
Defendants’ portion of their equitable share of the proceeds,
see Pl.’s Mem. Cash Contributions at 5; Defs.' Mem. Cash
Contributions at 5, and the Court accepts this arrangement.

VI. CONCLUSION

For the foregoing reasons, the Court imposes a constructive
trust on the Property and orders it to be sold. The parties
will divide the proceeds of the sale according to their
percentage interest in the Property, determined to be 44.14% for
Adley and 55.86% for the Defendants, and subject to the
extinguishing of the HELOC-related liability from the
Defendants’ equitable share.

SO ORDERED.

 
  
 
 

/s/ William cf
wILLIAM G. Yo¢NG
DISTRICT JUD E /

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